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                                     UNITED STATES COURTS
                                 EASTERN DISTRICT OF NEW YORK
                                    QUALITY CONTROL CHECK
                                      ATTORNEY CASE OPENINGS
                                                    Corrections
     Were Corrections made to this ACO case?                                                Yes     ✔      No
 1        Attorney did not complete the initiating documents.
          Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the
          attorney was that attempted to file the case and contacted that attorney in order to retrieve
          Complaint, Cover Sheet, Summons, and payment information or to advise the attorney to
          file the initiating documents.
 2        Court Designation was incorrect. Copied case, changed Court designation, deleted
          incorrect case and advised other Court. This is in conjunction with Paragraph 10-NY-E
          Division of Business Rule 50.1(d)(2)
 3        Attorney did not separate the initiating document. Separated document into individual
          attachments. Replaced Main document and attached the cover sheet and Summons (if
          applicable).
 4        Attorney did not include           Complaint             Cover Sheet           Summons
          Contacted attorney and retrieved missing document from attorney.
 5        Attorney used               Incorrect Form of Summons                 Defendant’s name and
          address not completed            Plaintiff’s attorney name and address not completed.
            Caption on the summons does not match caption on the complaint.
                    Incorrect Date.       Incorrect Case Number
          Contacted attorney and requested a corrected summons.

 6        Attorney used incorrect event when docketing the initiating document.
          Deleted document and re-docketed using the correct event.
 7                    Corrected Party Role                   Party spelling
                      Added missing Party
                      Converted from All Caps to Initial Caps
                  Added party text             Removed party text            Added alias
 8        Corrected Short Title
 9        Corrected         Basis of Jurisdiction                       Citizenship of Principal Parties
                            Nature of Suit       Cause of Action        Fee Status       County Code
                            Dollar Demand        Jury Demand            Class Action     Origin
 10       NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and
          retrieved corrected cover sheet and replaced on docket sheet.
 11                                Added case in other court to docket sheet.
 12              Added/Corrected Disclosure Statement question and response in docket entry
 13                  Page 1, Question 1(b) Plaintiff's county of residence was not indicated
 14                        Page 2, Question 2(c) was not completed or is inconsistent
 15                           Certification of Arbitration Eligibility not completed
Other
